       Case 1:23-cr-01714-KWR            Document 25         Filed 12/07/23      Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                    _________________

UNITED STATES OF AMERICA

               Plaintiff,

       vs.                                                        Case No. 1:23-cr-01714 KWR


DALE THOMAS JENKINS RICHARDSON,

               Defendant.

                    ORDER CONTINUING STAY OF RELEASE ORDER

       THIS MATTER is before the Court on Defendant’s Motion for an Emergency Hearing and

Immediate Release to the Halfway House (Doc. 18). The Court held Defendant’s requested

emergency hearing on December 7, 2023. In his motion, Defendant in part requested that the

Court vacate its stay of the magistrate judge’s release order and grant him immediate release. Doc.

18. The Court declines to vacate the stay until it has had an opportunity to receive briefing by the

parties and the opportunity to conduct a full de novo review of the release order.

       Defendant appears to believe that this court cannot review the magistrate judge’s release

order unless the United States files an appropriate motion with the district judge seeking review

of the release order, in accordance with the procedures outlined in 18 U.S.C. § 3145. See Doc. 18

at ¶¶ 33-34. The Court disagrees.

       Rather, Tenth Circuit precedent is clear that a district judge retains the right to conduct a

de novo review, sua sponte, of any detention or release order issued by a magistrate judge under §

3145. United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003) (“it is within the district court's

authority to review a magistrate's release or detention order sua sponte.”). Moreover, the Court
        Case 1:23-cr-01714-KWR           Document 25        Filed 12/07/23       Page 2 of 3




may consider the evidence before the magistrate judge and may also consider new evidence

presented by the parties. Id. at 617. Following the detention hearing, the Court entered a stay to

protect its ability to conduct a full de novo review of the release order. Therefore, the Court

exercises its right to sua sponte review the release order and declines to vacate the stay of the

release order until it can conduct a full de novo review.

        To the extent Defendant asserts that the undersigned can only revoke a release order if new

information is available, the Court disagrees. Section 3145 “does not require that new information

be available before a release or detention order can be reconsidered and revoked.” Cisneros, 328

F.3d at 614.

        Moreover, following the detention hearing, the Government has now filed a motion for

review of the release order pursuant to 18 U.S.C. § 3145, and to stay release. Doc. 22. The Court

grants that motion to the extent it requests stay of the release order pending full briefing.

        Having conducted a review of the record in this case, including the briefing, the pretrial

services report, and transcript of the detention hearing, the Court finds that a stay of the release

order is appropriate so that the Court may conduct a full de novo review of the release order and

issue a ruling.

        The Government shall file its full motion seeking review of the release order within seven

(7) days of the entry of this order. Response and reply deadlines will be in accordance with local

rules. See D.N.M. LR-Crim. 47.8.

        IT IS THEREFORE ORDERED that the United States’ Renewed Motion to Detain

Defendant Pending Trial, Request for Stay of Release Order, and Notice of Appeal (Doc. 22) is

GRANTED IN PART to the extent it seeks a stay of the release order pending full review of the

release order under 18 U.S.C. § 3145.



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       Case 1:23-cr-01714-KWR            Document 25   Filed 12/07/23    Page 3 of 3




       IT IS FURTHER ORDERED that Defendant’s Motion for an Emergency Hearing and

Immediate Release to the Halfway House (Doc. 18) is DENIED IN PART, to the extent it requests

the Court vacate the stay of the release order.




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